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IN 'I`HE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

.TUSTIN SMITH
1 1908 Millbrook Road :
Philadelphia, PA 19154 : CIVIL ACTION

Plaintiff, : No.

v.
JURY TRIAL DEMANDED
WALMART, INC. d/b/a WAL-MART
SUPERCENTER
4301 Byberry Road
Philadelphia, PA 19154

Defendant.

 

CIVIL ACTION COMPLAINT
Plaintiff, by and through his undersigned counsel, hereby avers as follows:
INTRODUCTION

1. This action has been initiated by Justin Smith (hereinaj?er referred to as “Plaintiff,”
unless indicated otherwise) against Walmart (herez`naj?er referred to as “Defendant” unless
indicated otherwise) for violations of Title VIl of the Civil Rights Act of 1964 (“Title VII” - 42
U.S.C. §§ 2000d et seq.), Section 1981 of the Civil Rights Act of 1866 (“Section 1981” ~ 42 U.S.C.
§ 1981), the Americans with Disabilities Act, as amended (“ADA” - 42 USC §§ 12101 et seq.),
and the Pennsylvania Human Relations Act (“PHRA”).1 As a direct consequence of Defendant’s

unlawful actions, Plaintiff seeks damages as set forth herein

 

1 Plaintifi’s claims under the PHRA are referenced herein for notice purposes I-Ie is required to wait l full year before
initiating a lawsuit from date of dual-filing with the EEOC, Plaintiff must however tile his lawsuit in advance of same
because of the date of issuance of his federal right-to-sue-letter under Title Vll and the ADA. Plaintiff’s Pl-IRA claims
however will mirror identically his federal claims under Title Vll and the ADA.

 

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JURISDICTI()N AND VENUE

2. This Court has original subject matter jurisdiction over the instant action pursuant
to 28 U.S.C. §§ 1331 and l343(a)(4) because it arises under the laws of the United States and seeks
redress for violations of federal laws.

3. This Court may properly maintain personal jurisdiction over Defendant because its
contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over
Defendant to comply with traditional notions of fair play and substantial justice, satisfying the
standard set forth by the United States Supreme Court in Im"l Shoe Co. v. Washington, 326 U.S.
310 (1945), and its progeny

4. Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(Z), venue is properly laid in this district
because Defendant is deemed to reside Where it is subjected to personal jurisdiction, rendering
Defendant a resident of the Eastern District of Pennsylvania.

5. Plaintiff filed a Charge of discrimination and retaliation With the Equal
Employrnent Opportunity Commission (“EEOC”) and also dual-filed said charge With the
Pennsylvania Human Relations Commission (“Pl-[RC”). Plaintiff has properly exhausted his
administrative proceedings before initiating this action by timely filing and dual-filing his Charge

with the EEOC and PHRC, and by filing the instant lawsuit within 90 days of receiving a right-to-

sue letter from the EEOC. `
PARTIES
5. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
6. Plaintiff is an adult individual, With an address as set forth in the caption.
7. Defendant Walmart lnc. d/b/a Wal-l\/lart Superstore is an Arnerican multinational

retailing corporation that operates as a chain of hypermarkets, discount department stores, and

 

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grocery stores in multiple states, including the location at Which Plaintiff worked in Philadelphia,
PA (as identified in the above caption).

8. At all times relevant herein, Defendant acted by and through its agents, servants,
and employees, each of whom acted at all times relevant herein in the course and scope of their
employment With and for Defendant.

FACTUAL BACKGROUND

9. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

10. Plaintiff is an adult Caucasian male.

11. Plaintiff was employed with Defendant as a laborer for approximately 1.5 years,
from in or about March of 2017 until his unlawiiil termination (as discussed in]$'a) on or about
October_9, 2018.

12. During his employment with Defendant, Plaintiff Was a hard-working employee
who performed his job well.

13. Plaintiff was primarily supervised by a black male supervisor _Abron (last name
unknown, hereinafter referred to as “Abron”).

14. Plaintiff’ s mother, Theresa Smith (hereinaji‘er “TS”), was also employed with
Defendant (as a cashier) for approximately 1.5 years, from in or about March of 2017 until in or
about October of 201 8.

Retaliation -Wrongful Termination & Hostile Work Environment

15 . During Plaintiff’ s tenure with Defendant, his mother (TS) engaged in multiple
forms of protected activity. For example, but not intended to be an exhaustive list:

a. TS Was subjected to unwelcomed sexual comments and gestures by Customer

Service Manager, Brian, including comments such as “You’re wet between the

 

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legs,” “Lick my clit,” and “You’re just mad because you’re Wet between the legs,
lick my clit.” TS reported the conduct to Defendant’s management and corporate
representatives on several occasions throughout her employment with Defendant;
however, her complaints were not well-addressed and she was subjected to
retaliation (as discussed inji‘a), Which she also continually reported to Defendant’s
management and corporate representatives;

b. At all times relevant during her employment with Defenda_nt, TS suffered from a
seizure disorder, which required daily medication and resulted in periodic seizures,
and (at times) limited her ability to perform some daily life activities Despite her
serious health condition and limitations, TS was still able to perform the duties of
her job well; however, she required reasonable medical accommodations in the
form of intermittent and/or block leave for dcctor’s appointments and treatment
TS was faced with hostility and animosity and multiple forms of retaliation from
Defendant’s management because of her disability and requests for
accommodations, including but not limited to Defendant’s failure to accept her
doctors’ notes and approve her leave, and Defendant’s management’s assessment
of points against her for utilizing reasonable accommodations in the form of
medical leave. TS complained on several occasions about the aforesaid disability
discrimination and retaliation that she was being subjected to; however, her
complaints were not well-addressed, and she continued to report the retaliation and
disability discrimination to Defendant’s management and corporate
representatives; and

c. During her tenure With Defendant, TS (Caucasian) was discriminated against and

subjected to a hostile work environment based on her race. Two black cashier

 

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16.

supervisors treated TS in a rude and condescending manner and regularly talked
down to her; selectively enforced policies against her; and unlike her black-co-
workers refused to sign off on TS’s training graduation (to qualify for a raise) and
assessed disciplinary points against her for infractions she did not actually commit
TS complained of discrimination to Defendant’s management but was in turn faced
with increased hostility and animosity and multiple forms of retaliation from
Defendant’s management because of her reports of race discrimination

lt Was widely known throughout Plaintiff’ s work location, that TS made the

aforementioned complaints of sexual harassment, disability discrimination, racial discrimination,

and/or retaliation for making complaints of discrimination to several members of Defendant’s

management and corporate representatives This caused a significant corporate presence in the

Workplace.

17.

Upon information and belief, Defendant’s management and corporate

representatives largely ignored TS’s aforesaid complaints of discrimination

18.

lnstead, Defendant’s management subjected both TS and Plaintiff` to retaliatory

behavior. For example, but not intended to be an exhaustive list:

a. Defendant’s management removed TS her from the cash registers, subjected her to

pretextual admonishment, shifted her around to different departments that were
disliked generally or where she had to perform heavy lifting; gave her increasingly
more work than other employees, reduced her hours, and eventually removed her

from the schedule entirelyz; and

 

2 This is not an exhaustive list of the retaliatory and/or discriminatory actions taken against TS during Plaintiff’s
employment with Defendant.

 

 

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b. Defendant’s management, including but not limited to Abron, treated Plaintiff in a
condescending manner; overly scrutinized and criticized his work; selectively
enforced policies against him; and also gave him increasingly more work than other
employees

19. ln the midst of TS’s complaints of sexual harassment, discrimination, and
retaliation, Plaintiff was abruptly terminated on or about October 9, 2018.3 Defendant’s
management claimed that Plaintiff was being terminated for allegedly writing some graffiti in the
workplace (discussed in further detail inj‘cz). Plaintiff was accused of this conduct, even though
he had no history of engaging in this conduct and despite the fact that anyone who worked in the
store could have been responsible for the graffiti.

20. Plamtiffs termination was completely pretextual, as his termination occurred (1)
in the midst of TS’s complaints of sexual harassment, discrimination, and retaliation; and (2) after
being subjected to multiple forms of harassment following TS’s complaints of discrimination and
retaliation

21. Plaintiff believes and therefore avers that he was terminated in retaliation for his
mother’s (1) complaints of sexual harassment; (2) complaints of disability discrimination; (3)
complaints of racial discrimination; and/or (4) requests for reasonable medical accommodations

Race Discrimination

22. In addition to being subjected to retaliatory harassment by Defendant’s
management because of his mother’s request for medical accommodation and/or complaints of
sexual harassment, discrimination and retaliation, Plaintiff was also discriminated against and

subjected to a hostile work environment based on his race.

 

3 Plaintiff’s mother was terminated shortly thereafter, in or about November of2018.

 

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23. From in or about April of 2017 until Plaintiff’s termination from Defendant on or
about October 9, 2018, Abron subjected Plaintiff and other Caucasian employees to race
discrimination and harassment By way of example, but not intended to be an exhaustive list:

a. Unlike Plaintiff’s black co-workers, Abron treated Plaintiff and other Caucasian
employees in a rude and demeaning manner, and regularly talked down to them;

b. Unlike Plaintiff`s black co-workers, Abron selectively enforced policies against
Plaintiff and his Caucasian co-workers;

c. Plaintiff was given substantially more work by Abron than Plaintiff’ s black co-
workers; and

d. Plaintiff s black co-workers were permitted to use their personal cell phones during
work hours; however, Plaintiff and his Caucasian co-workers were not permitted to
or were disciplined for same.

24. While employed with Defendant, Plaintiff complained to Defendant’s
management, including but not limited to Abron; Store l\/ianager, Andrew (Caucasian f hereinafter
“Andrew”); and Assistant Ma.nager, Fiona (black - hereinafter “Fiona”) about the aforementioned
instances of race discrimination

25. Despite Plaintiff’s aforesaid complaints of discrimination,- Defendant failed to
properly investigate or resolve such concerns, and Plaintiff was subjected to progressive hostility
and animosity by Defendant’s management

26. For example, toward the end of Plaintiff’s employment with Defendant, Custom
Service Manager, Kwami (black - spelled phonetically), approached Plaintiff and asked him if he
had seen the graffiti on the bathroom Walls and if he was responsible Plaintiff replied that he had

Seen the graffiti but was not responsible

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27. Shortly thereafter, on or about October 9, 2018, Abron approached Plaintiff and a
group of other employees who were gathered around a piece of equipment in the back room that
contained graffiti. Despite the fact that there were several employees around the equipment and
that Abron had not witnessed anyone drawing directly on the equipment, Abron walked directly
up to Plaintiff and stated, “l think this will be the last day you are working here.”

28. Approxirnately 15 minutes after Abron discovered Plaintiff and a group of
employees standing around a piece of Defendant’s equipment that contained graffiti, Plaintiff was
called into a meeting with Assistant Manager, Crystal Dunn (hereina]€‘er c‘Dunn”). Dunn informed
Plaintiff that he was being terminated because Abron had witnessed Plaintiff drawing with a
marker on Defendant’s equipment

29. Dunn further advised Plaintiff during his termination meeting _that while she
suspected that he drew on the bathroom stalls, she was not terminating him for same because she
had no proof.

30. Defendant’s reason for terminating Plaintiff on or about October 9, 2018 - writing
graffiti on workplace surfaces - was completely pretextual because Plaintiff had no history of
engaging in this conduct and Abron discovered the graffiti on Defendant’s equipment sometime
after it had been applied. As a result, anyone in the workplace who used the store restrooms or
worked in the facility could have been responsible for the graffiti.

31. Plaintiff believes and therefore avers that he was abruptly terminated from his
employment with Defendant on or about October 9, 2018, because of his race and/ or his complaints

of race discrimination

 

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COUNT I
Violation of Title VII of the Civil Rights Act of 1964 (“Title VII”}
(Retaliation _ Wrongful Termination)

32. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

33. ln the midst of his mother’s (TS) renewed complaints of sexual harassment,
discrimination and retaliation under Title Vll, Plaintiff was subjected to retaliatory harassment by
Defendant’s management including but not limited to condescending, demeaning, and disparate
treatment

34. Within weeks of TS’s complaints of sexual harassment and race discrimination
and/or TS’s complaints of retaliation for reporting same, Defendant terminated Plaintiff’s
employment on or about October 9, 2018, for completely pretextual reasons

35. lt is therefore believed and averred that Plaintiff was ultimately terminated from his
employment with Defendant because TS complained of discrimination and retaliation under Title

Vll.

36. These actions as aforesaid constitute retaliation under Title Vll. 4

 

4 Even if an individual is not a witness or a direct complainant of discrimination a termination of “someone so closely
related to or associated with the person exercising his or her statutory rights” under Title VII is actionable retaliation
Thompson v. N. Am. Stainless, LP, 562 U.S. 170, 179 (2011). Of those individuals that are related to a claimant “a
close family member will ahnost always meet the Burlington standard” and therefore qualify as being within the
protected “zone of interests.” Id., 175; See also Mt`lron v. Mr'llz'gan, 2013 Wl_. 828591, at *2 (N.D. Fla. 2013) ('l`he
Supreme Court’s holding in Thompson that anyone in the “zcne of interests” of a person engaging in statutorily
protected activity is protected from retaliation applies to § 1981 and any motion to dismiss to the contrary would be
“unfounded”); Barber v. JTEKTAato. Virginia, Irie., 2012 WL 1577364, at *17 (W.D. Va. 2012) (denying summary
judgment as to several plaintiffs’ retaliation claims under Title VIl and § 1981 in part because the plaintiffs could have
fallen within the “zone of interests” to be protected from retaliation for other employees complaining of
discrimination).

 

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COUNT II
Violations of the Arnericans With Disabilities Act. as Amended (“ADA”)
(Retaliation _ Wrongful Termination)

37. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

38. ln the midst of his mother’s (TS) requests for accommodations and renewed
complaints of disability discrimination failure to accommodate, and retaliation under the ADA,
Plaintiff was subjected to retaliatory harassment by Defendant’s management including but not
limited to condescending, demeaning, and disparate treatment

39. Within weeks of TS’s complaints of disability discrimination and failure to
accommodate, and/or TS’s complaints of retaliation for reporting same, Defendant terminated
Plaintiff’s employment on or about October 9, 2018, for completely pretextual reasons

40. lt is therefore believed and averred that Plaintiff was ultimately terminated from his
employment with Defendant because TS complained of disability discrimination and a failure to

accommodate under the ADA.

41. These actions as aforesaid constitute retaliation under the ADA.5

 

5 Fogleman v. Mercj) Hosp., 283 F.3d 56-1, 564 (3 d. Cir. 2002) (explaining that “the ADA contains an additional anti-
retaliation provision that makes it unlawful for an employer ‘to coerce, intirnidate, threaten or interfere with any
individual’ exercising rights protected under the Act. 42 U.S.C. § l2203(b)” and holding that “[Plaintiff’s] claim that
he was retaliated against for his father's protected activity is valid as a matter of law”); Morgan v. ano!ftano, 988 F.
Supp. 2d 1162, 1178 (E.D. Cal. 2013) (“[l]t would appear that the [Supreme] Court’s reasoning in Thompson [for
Title Vll] applies equally to the ADA and the ADEA. Third-party retaliation claims therefore appear equally
cognizable under those statutes”); Wychock v. CoordfnazedHen!th .S'ys., 2003 U.S. Dist. LEXIS 3376, *17 (E.D. Pa.
Mar. 4, 2003) (holding that the ADA anti-retaliation provision “allows for a cause of action by an employee who did
not engage in protected activity. . . However, the only parties that are entitled to make a claim under this provision are
those who are close relatives of an individual who did in fact engage in a protected activity”).

 

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COUNT III
Violation of Title VII of the Civil Rights Act of 1964 (“Title VII”)

([1] Race Discrimination; [2] Retaliation; and [3] Hostile Work Environment)

42. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

43. During Plaintist employment with Defendant he was subjected to discrimination
and a hostile Work environment through disparate treatment pretextual admonishment and
demeaning and/or derogatory treatment because of his race.

44. Plaintiff complained to Defendant’s management about the aforesaid racial
discrimination that he was being subjected to.

45. lnstead of investigating Plaintiff’s aforesaid complaints of race discrimination
Defendant’s management ignored them and subjected him to retaliation including but not limited
to ultimately terminating his employment for completely pretextual reasons on or about October
9, 2018.

46. Plaintiff believes and therefore avers that he was really terminated because of his
race and/or his complaints about race discrimination

47. These actions as aforesaid constitute unlawful discrimination retaliation and a

hostile work environment under Title Vll.

COUNT IV
Violations of 42 U.S.C. Section 1981
([1] Race Discrimination; [2] Retaliation; and [3] Hostile Work Environlnent)
48. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
hill.
49. During Plaintiff’s employment with Defendant he was subjected to discrimination

and a hostile work environment through disparate treatment pretextual admonishment and

demeaning and/or derogatory treatment because of his race.

 

 

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50. Plaintiff complained to Defendant’s management about the aforesaid racial
discrimination that he was being subjected to.

51. lnstead of investigating Plaintiffs aforesaid complaints of race discrimination
Defendant’s management ignored them and subjected him to retaliation including but not limited
to ultimately terminating his employment for completely pretextual reasons on or about October
9J 2018.

52. Plaintiff believes and therefore avers that he was really terminated because of his
race and/or his complaints about race discrimination

53. These actions as aforesaid constitute unlawful discrimination retaliation and a
hostile work environment under Section 1981.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendant is to promulgate and adhere to a policy prohibiting discrimination and
retaliation in the future against any employee(s);

B. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole
for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s
illegal actions, including but not limited to back pay, front pay, salary, pay increases, bonuses,
insurance, benefits, training, promotions, reinstatement and seniority;

C. Plaintiff is to be awarded punitive damages, as permitted by applicable law, in an
amount believed by the Court or trier of fact to be appropriate to punish Defendant for its willful,
deliberate, malicious and outrageous conduct and to deter Defendant or other employers from
engaging in such misconduct in the future;

D. Plaintiff is to be accorded other equitable and legal relief as the Court deems just
proper and appropriate (including but not limited to damages for emotional distress, pain suffering

and humiliation); and

 

 

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E. Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.

Dated: February 11, 2019

  

Respectfully submitted,

RPF & CERUTTI, P.C.

 

 

. Kamt Esq.

3331 Street Rd.

Two Greenwood Sqnare, Suite 128
Bensalem, PA 19020

(215) 639-0801

 

 

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IN THE UNITED STATES DISTRICT COURT
- FOR THE EASTERN DISTRICT GF PENNSYLVANIA

C‘A _ N'r . r s
Justin Smith CIVIL ACTION
_V.
Walrnart, Inc. dfb/a Wal-Mart Supercenter : ' l NO_

In accordance with the Civil Justlee Expense and Delay R.eduetion Plan of this court counse1 for
plaintiff shall complete a Case Management Track Deslgnation Form in all civil cases at the time cf
filing the complaint and serve a cop]y on all defendants (See § l :03 of the pllan setforth- on the reverse
side of this form. In the event at a defendant does not agree witht e plaintiff regarding said
designation that efendant shall, with its first appearance submit to the clerk of court and serve on
the plaintiff and all other parties a Case Management Traek Designation_ Fomr specifying the track
_to which that defendant believes the case should be assigned '

SELECT ONE 08 THE FOLLOW!NG CASE MANAGEMENT TRACKS:

(a) Habeas Coipus -* Cascs brought under 128-U.S.C. § 2241 through § 2255. ( )
(b) Social Securlty -~ Cases requesting review ot` a decislon of the Secretary ofl-lealth
and Human Services denylng plaintiff Social Security Beneiits. , ( }

(c) Arbitration v Cases required to be designated for arbitration under Loeal Civil Rule 53-.2.7 ( `)

{d) Asbes`tcs - Cases involving claims for personal injury or_ property damage from
exposure to asbestos { )
(e) Spccial Manafgement - Cases that do not fall into tracks {a} through (d) that are

commonly re erred to as complex and that need special or intense management by
the court (See reverse side of this form for a detailed explanation of special

 

 

 

management eases.) \ ( )
(t) Standard Management ~ Cases that do not fall into any one of the other tracks (x )
h 2/1 1/2019 M\ Plaintiff
Date Attor'ney-at-law Atterney for
_(gl sr 639-osm __Q`ls) 635»4970 akar-pr@:<arpf-iaw.com
"l"'e_lephcne FAX Number E»Mail Addr'ess

(Clv. 660) 101'02

 

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UNITED sTATEs march coURT
ron THE EASTERN instch or PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel ar pro se plaintr'jj" to indicate the category ofrhe casefor the purpose of assignment to the appropriate calendar)

Address ofPlaintifl`: 11908 Millbrook Road, Phlladelphia, PA 19154
Address of Defendant 4301 Byberry Road, Philadelphia, PA 19154

Place of Accident, Incident or Transaction: Defendant‘s place of business

 

RELA TED CASE, IF ANY:
Case Number: Judge: Date Terrninated:
Civil cases are deemed related when Yes is answered to any of the following questions:

l. IS this case related to property included in an earlier numbered suit pending or within one year Yes E NOE
previously terminated action in this court?

2. Does this case involve the Same issue of fact or grow out of the same transaction as a prior suit Yes m No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes m No
numbered case pending or within one year previously terminated action of this court?

4. ls this case a Second or successive habeas corpus, social security appeal, or pro se civil rights Yes m No
case filed by the Samc individual?

l certify that, to my knowledge, the within case m is / lX] is not related to any case now pending or within one year previously terminated action in
this court except as noted abovc.

palm 2/11/2019 """ ARK24s4/91533

 

f Athw{e’y-ar-Law /Pro Se Plaintr'jj" Atrorney I.D. # (rfapplr'cable)

 

 

CIVIL: fFla\:e a \l 111 one category unly) _

 

 

 

 

 

A. Fedeml Questr‘on Cases: B. Dr'versity Jun'sdiclian Cases:
n l Inderrmity Contract, Marine Contract, and Ali Other Contracts n l. Insurance Contract and Other Contracts
m 2 FELA m 2. Airplane Personal Injury
m 3 Jones Act-Personal In jury m 3. Assault, Dei`arnation
E] ' 4 Antitrust m 4. Marine Personal Injury

5 Patent |:| 5. Motor Vehicle Personal lnjury
E 6 Labor-Management Relations 6. Other Personal Injury (Please specijj)):
|X| 7 Civil nights g 7. reedqu Liabinty
m 8 Habeas Corpus m 8. Products Liability - Asbestos

9. Securities Act(s) Cases n 9. All other Diversity Cases
E 10. Social Security Revicw Cases (Pl€@'-W -YP€CI'J§’)-'
m ll. All other Federal Question Cases

(Pl'ease specyj)) .'
ARBITRATION CERTIFICATION
(Tlie cyjrccr ofl.lu's certification is to remove the cnscj.`>‘om. cligibililfvfo." m‘bi!."atl'cm.)

l, Ari R- Karpf , counsel of record or pro se plaintiff, do hereby certify:

 

- Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $l 5(),000.0() exclusive of interest and costs:

Reliei` other than monetary damages is sought

 

r:."‘..t»

mrs 2/11/2019 ARK2484 /91538

 

\Artbmey-af-Law /Pro Se Plain!{jj" Attorney !.D. ii (ifappiicab!e)

NOTE; A trial de novo will be a trial by jury only ifthere has been compliance with F.R,C.Pi 38.

 

Civ. 609 (5/20}3)

 

 

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1344 mw 116/111 CIVIL COVER SHEET

The ._IS 44 civil cover sheet and the information contained herein neither replace nor sup§le_ment the filin and service of pleadings or other papers as re uired by law, except as
provided b _ local_ rules ofcc_)urt. '1111$ form, approved by the Judlcla§ Conf`erence of the mted Stutes in september 1974, is requlred for the use of the Cc1erk OfCourt for the
purpose o mltlatlng the c lvll docket sheet. (SEE INSTRUCTIONS ON NEXTPAGE OF TH!S FORM.)

I. (a) PLAINTIFFS DEFENDANTS
WALMART, INC. D."B/A WAL-MART SUPERCENTER

 

SM]TH, JUSTIN
(b) County of Residence of First L:`sted Plaintiff Philadelphia County of Residcnce ofFirst Listed Defendant Philade]phia
(EXCEPTIN U.S. PLAINT]FF CASELS] (IN U.S. PLA[NTYFF CASES ONLY)
NOTEZ IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(C) Attomeys (Firm Name| Addr'ess, and Telepl:'one Number'} Attomeys ([fKnawn)

Karpf, Karpf & Cerutti, P.C.; 3331 Street Road, Two Greenwood Square,
Suite 128, Bensalem, PA 19020; (215) 639-0801; akarpf@karpf-law.com

 

 

 

 

   
  

    
  

   
 

     

 

 
   
   

          

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION {P¢'ace an “X" m One Box O.rrb') III. CITIZENSHIP OF PRINCIPAL PARTIES (Pn'ace ah “X" in One Boxfar Plainth f
(For D:‘versr'ly Cases Only) and One chfor Defendanr)
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2 U.S. Govemmen¢ 4 Diversity Citizen annc)ther State 2 2 incorporated and Principal Pluee 5 5
Defendant [Indi`c'ale Ci!izenshrp of Parf.l`es in hern IL[) of Business In Another Stale
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IV NATURE OF SUIT (P ce an " " ' One Bch On!y) fOTZ N 1 fS '1’. COde DeSCI‘1]§t1OI'lS
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0 120 Marine ' 310 Airplane El 365 Personal lnjury - ofPropertyZl USC 381 ' 423 Wir.hdmwal ' 376 Qul`Tam(31USC 1
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0 151 Medicare Act ' 330 Federal Employers’ Productl.iability E| 830 Ps.tent C| 450 Comrrlerce
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Student Loa.ns ' 340 Marine Injury Pruduct New Drug Applicalion 0 470 Ra¢:keteer lnHuenced and
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U 240 Torts 10 Land E| 443 Honsing/ Sentence 26 USC 7609 Agency Decision
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Ci'te the U.S. C ivil Statute under which you are fllir%Do not cite{urisdicriomr!stumes unless diversiry): 3
VI CAUSE OF ACTION Tltle VII (42USC2000); Sectlon 1981 (4 SC198 ); ADA (42USC12101) ‘
' Br§ef`des_cription of_cause: _ _ _
Vlolatlons of Tltle VlI, Sectlon 1981, the ADA and the Pennsylvama Human Relat:ons Act.
VII. REQUESTED IN n CHECK IF THIS IS A CLASS ACTION DEMAND $ Cf-IECK YES only if demanded in complaint
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND; XYes 'No
VIII. RELATED CASE(S) ‘
IF ANY mee “"W“°"°"s)‘ ;UDGE DOCKETNUMBER
DATE SIGNATURE 0 AT ORN RECO D
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

   

 

